    Case: 1:20-cv-05090 Document #: 42 Filed: 03/30/21 Page 1 of 5 PageID #:364




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                    )
 JULIA ROSSI, DELILAH PARKER and                    )
 KELVIN HOLMES, Individually and on                 ) Case No.: 1:20-cv-05090
 Behalf of All Others Similarly Situated,           )
                                                    ) Hon. Andrea R. Wood, presiding
                        Plaintiffs,                 ) Hon. Magistrate Heather K. McShain
                                                    )
                v.                                  )
                                                    )
 CLAIRE’S STORES, INC.; CLAIRE’S                    )
 BOUTIQUES, INC.; and CBI                           )
 DISTRIBUTING CORP.,                                )
                                                    )
                        Defendants.                 )
                                                    )


      JOINT STATUS REPORT AND NOTICE OF SETTLEMENT IN PRINCIPLE

       Plaintiffs Julia Rossi, Delilah Parker, and Kevin Holmes (collectively, “Plaintiffs”) and

Defendants Claire’s Stores, Inc., Claire’s Boutiques, Inc., and CBI Distributing Corp. (collectively,

“Defendants,” and, collectively with Plaintiffs, the “Parties”), by and through their undersigned

counsel, hereby submit this joint status report.

       Pursuant to the Court’s order staying Defendants’ motion to dismiss briefing and

substantive discovery pending mediation (ECF No. 39), the Parties participated in a private

mediation with an experienced mediator, Bennett G. Picker, Esq., on March 23, 2021. After a

lengthy, full-day mediation session of hard fought, arm’s-length negotiations, the Parties reached

a settlement in principle to resolve this class action on a nationwide basis.

       The Parties anticipate that they will need approximately 45 days to draft and finalize the

terms of their settlement agreement and exhibits, and for Plaintiffs to prepare their motion for

preliminary approval of settlement. Therefore, the Parties respectfully request that the Court vacate
    Case: 1:20-cv-05090 Document #: 42 Filed: 03/30/21 Page 2 of 5 PageID #:365




the remaining briefing deadlines for Defendants’ motion to dismiss and set May 17, 2021 as the

deadline for Plaintiffs to file a motion for preliminary approval of settlement, including the Parties’

executed settlement agreement and related exhibits.



                                               Respectfully submitted,

 DATED: March 30, 2021                          /s/ Bradley K. King
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                                                  -2-
  Case: 1:20-cv-05090 Document #: 42 Filed: 03/30/21 Page 3 of 5 PageID #:366




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                                       -3-
    Case: 1:20-cv-05090 Document #: 42 Filed: 03/30/21 Page 4 of 5 PageID #:367




                                 ATTESTATION OF FILER

       I hereby attest that concurrence in the filing of this document has been obtained from the

above signatories.

                                                     /s/ Bradley K. King




                                               -4-
     Case: 1:20-cv-05090 Document #: 42 Filed: 03/30/21 Page 5 of 5 PageID #:368




                                     CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2021, the foregoing Joint Status Report and Notice of

Settlement in Principle was electronically filed with the Clerk of the United States District Court

for the Northern District of Illinois, using the CM/ECF system, which will send notification of the

filing to all attorneys of record.



                                                      /s/ Bradley K. King




                                                -5-
